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     Federal Defender
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     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
6    Attorney for Defendant
     STEFANIE DELORENZO
7
8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. 2:10-CR-0140 JAM
                                     )
14                  Plaintiff,       )     STIPULATION AND ORDER
                                     )     CONTINUING STATUS CONFERENCE
15        v.                         )     AND EXCLUDING TIME
                                     )
16   STEFANIE DAWN DELORENZO,        )
                                     )     Date: December 14, 2010
17                  Defendant.       )     Time: 9:30 a.m.
                                     )     Judge: Hon. John A. Mendez
18   _______________________________ )
19
20        IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
21   of America, and defendant Stefanie Delorenzo, that the status conference
22   scheduled for December 14, 2010, may be continued to January 18, 2011, at
23   9:30 a.m.
24        The parties have identified a number of issues requiring further
25   consideration   before   the   case   resolves    as   to   defendant   Stefanie
26   Delorenzo.   To afford additional time to review discovery and determine
27   whether there are pretrial motions to file, the parties agree that time
28   under the Speedy Trial Act should be excluded from the date of this order
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1    through the status conference on January 18, 2011, pursuant to 18 U.S.C.
2    § 3161(h)(7)(A) and (B)(iv)(Local Code T4).
3                                              Respectfully submitted,
4                                              DANIEL J. BRODERICK
                                               Federal Defender
5
6    Dated:    December 9, 2010                /s/ T. Zindel
                                               TIMOTHY ZINDEL
7                                              Assistant Federal Defender
                                               Attorney for STEFANIE DELORENZO
8
9
10                                             BENJAMIN B. WAGNER
                                               United States Attorney
11
12   Dated:    December 9, 2010                /s/ T. Zindel for M. Stegman
                                               MATTHEW STEGMAN
13                                             Assistant U.S. Attorney
14
15                                        O R D E R
16         The status conference is continued to January 18, 2011, at 9:30 a.m.
17   Time under the Speedy Trial Act is excluded through that date for the
18   reasons stated above and by agreement of the parties, the court finding
19   that the ends of justice to be served by a continuance outweigh the best
20   interests of the defendant and the public in a speedy trial.
21         IT IS SO ORDERED.
22
23   Dated:    December 10, 2010
24                                             /s/ John A. Mendez
                                               HON. JOHN A. MENDEZ
25                                             United States District Judge
26
27
28


     Stip. & Order                             2
